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                      UNITED STATES DISTRICT COURT
                                             for the
                                  Eastern District of Kentucky
                                      Lexington Division

Carrie A. Lunsford                                   )
       Plaintiff                                     )
                                                     )
v.                                                   )       Case No. 6:17-cv-00326-KKC
                                                     )
Experian Information Solutions, Inc. et al.          )
      Defendants                                     )
                                                     )

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
            AS TO DEFENDANT EQUIFAX INFORMATION SERVICES, LLC

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) Plaintiff Carrie A. Lunsford hereby gives notice

that she is dismissing with prejudice her claims against Defendant Equifax Information Services,

LLC in this action. Except as otherwise agreed, the parties shall each bear their own costs and

fees.



                                      Respectfully submitted,

                                      /s/ James H. Lawson
                                      James H. Lawson
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                                      Carrie A. Lunsford

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                                      115 S. Sherrin Avenue, Suite 5
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                                      E-mail: jmckenzie@jmckenzielaw.com
                                      Counsel for Plaintiff
                                      Carrie A. Lunsford


                                CERTIFICATE OF SERVICE

        This is to certify that I filed the foregoing via the Court’s CM/ECF system on this 19th
day of February, 2019, which will send a Notice of Electronic Filing to all counsel of record. I
also certify that I served the foregoing this 19th day of February, 2019 via regular U.S. Mail,
postage prepaid, upon the following:

       Equifax Information Solutions, Inc.
       c/o Corporation Service Company
       421 West Main Street
       Frankfort, KY 40601

                                      /s/ James H. Lawson
                                      James H. Lawson
                                      Counsel for Plaintiff
                                      Carrie A. Lunsford




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